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 1
 2                                                                         FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON

 3
                                                                  Apr 15, 2024
 4                                                                    SEAN F. MCAVOY, CLERK

 5
 6                         UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
 9 ROBERT B. LUTZ, MD, MPH, a married
   man,
10                                                  No. 2:22-CV-00028-SAB
11                Plaintiff,
12                                                  FOURTH AMENDED JURY
13                v.                                TRIAL SCHEDULING ORDER
14
15 SPOKANE REGIONAL HEALTH                          JURY TRIAL SCHEDULED
   DISTRICT, a Washington State local
16 public health agency,                            MAY 12, 2025
17
                  Defendant.
18
19
           The Court, having recently received this case and heard from the parties,
20
     orders the following amended schedule for jury trial in this matter.
21
           Accordingly, IT IS ORDERED:
22
            PROFESSIONALISM AND COURT-ASSISTED MEDIATION
23
           1.     Civility and Professional Conduct. Counsel should review and
24
     employ Local Rule 83.1 (Civility) and Washington Rule of Professional Conduct
25
     3.4 (Fairness to Opposing Party and Counsel).
26
           2.     Scheduling Order is Binding. Rule 16(f) of the Federal Rules of
27
     Civil Procedure provides for sanctions for failure to obey the Scheduling Order.
28

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 1 The Court will usually accept stipulations to modify the dates specified in this
 2 Order, but modifications of pretrial deadlines may also result in a modification of
 3 the trial date.
 4        3.     Settlement Conference/Mediation. The parties are encouraged to
 5 engage in settlement negotiations as early as possible and should contact the Court
 6 if they believe a settlement conference would be helpful. The Court will require
 7 parties to engage in mediation prior to trial, unless good cause is shown that
 8 mediation is not possible or will be unproductive. The parties shall file written
 9 verification of compliance with this pre-trial mediation requirement at least 45
10 days prior to the trial date.
11                                    TRIAL DATES
12        4.     Jury Trial. The jury trial shall commence on May 12, 2025, at 9:00
13 a.m. in Spokane, Washington. Counsel estimates a trial length of 7 days.
14        5.     Pretrial Conference. An in-person pretrial conference will be held
15 on April 24, 2025, at 9:00 a.m. in Spokane, Washington.
16                             DISCOVERY DEADLINES
17        6.     Initial Disclosures. The parties have completed their disclosures
18 pursuant to Fed. R. Civ. P. 26(a)(1). See ECF No. 60 at 16.
19        7.     Expert Disclosures.
20        A. Initial Expert Disclosures. Each Party shall identify its experts and serve
21 written reports as required by Rule 26(a)(2) on all other parties no later than June
22 3, 2024. Each Party shall also provide dates for which those experts can be
23 available for deposition.
24        B. Rebuttal Expert Disclosures. Each Party shall identify its rebuttal experts
25 and serve written reports as required by Rule 26(a)(2) on all other parties no later
26 than July 8, 2024. Each Party shall also provide dates for which those experts can
27 be available for deposition.
28        C. Modifications. The parties may modify the deadline for exchange of

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 1 expert disclosures by joint stipulation filed with the court; a motion is not
 2 required.
 3        8.    Discovery.
 4        A. Discovery Limitations.
 5              i. Depositions. No more than ten depositions, each limited to seven
 6 hours in one day, may be taken by the plaintiffs, defendants, or third-party
 7 defendants without leave of the Court. Fed. R. Civ. P. 30(a)(2), (d)(1).
 8              ii. Interrogatories. No party may serve more than twenty-five
 9 interrogatories, including discrete subparts, on any other party, without leave of
10 the Court. Fed. R. Civ. P. 33(a)(1).
11              iii. Requests for Production. No party may serve more than thirty
12 requests on any other party without leave of the Court.
13        B. Discovery Deadline. All discovery shall be completed on or before
14 December 23, 2024.
15        C. Responses. To be timely, discovery requests must be served sufficiently
16 in advance of the deadline to allow for timely response by the cutoff date.
17        D. Necessity. The parties shall file no discovery except as necessary to
18 support motions or objections.
19        E. Discovery Conferences. To avoid wasted time and expense, Counsel may
20 contact chambers to schedule a telephonic conference to obtain an expedited
21 ruling on discovery disputes. Prior to the conference, each party may submit to the
22 Court a one-page summary explaining the discovery dispute.
23                               MOTION DEADLINES
24        9.    Motions to Amend Pleadings or Add Parties. The deadline to
25 amend pleadings or add named parties has passed. See ECF No. 40 at 17.
26        10.   Daubert Motion Deadline. Challenges to the admissibility of expert
27 opinion testimony shall be made by written motion and filed by November 1,
28 2024. If the party challenging expert testimony anticipates that an evidentiary

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 1 hearing shall be required, the party shall so advise the Court and opposing counsel
 2 in conjunction with the filing of its motions.
 3         11.   Dispositive Motions. All dispositive motions shall be filed and
 4 served on or before December 31, 2024.
 5         12.   Motions in Limine.
 6         A. Motions in Limine: shall be filed and served on or before March 31,
 7 2025.
 8         B. Responses: shall be filed and served on or before April 7, 2025.
 9         C. Replies: shall be filed and served on or before April 14, 2025.
10         D. Notation: Motions in limine shall be noted for hearing at the pretrial
11 conference.
12                       TRIAL PREPARATION DEADLINES
13         13.   Exhibit and Witness Lists.
14         A. Exhibit Lists and Witness Lists: shall be filed and served and exhibits
15 made available for inspection (or copies provided), on or before April 7, 2025.
16         B. Identification: The witness list shall include identification of each
17 witness’s testimony.
18         C. Notation of Exhibits: Where feasible, all exhibits identified in
19 depositions shall be pre-marked with the exhibit numbers that will be used at trial.
20 Plaintiff’s trial exhibits are to be numbered 1 through 199; Defendant’s exhibits
21 are to be numbered 200 and following.
22         D. Objections: Objections to the opposing party’s witness list or exhibit list
23 and any accompanying briefs shall be filed and served on or before April 14,
24 2025.
25         E. Responses: Responses, if any, to objections shall be filed and served on
26 or before April 21, 2025.
27         14.   Pretrial Exhibit Stipulation.
28         A. Stipulation: The parties shall prepare a pretrial exhibit stipulation that

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 1 shall contain each party's numbered list of all trial exhibits with the opposing
 2 party’s objections to each exhibit, including the basis of the objection and the
 3 offering party's brief response. All exhibits to which there is no objection shall be
 4 deemed admitted, subject to any objections at trial that could not be raised in
 5 advance.
 6         B. Deadline: The pretrial exhibit stipulation shall be filed on April 21,
 7 2025.
 8         C. Objections to witness and exhibits shall be heard at the pretrial
 9 conference.
10         15.   Designation of Testimony.
11         The parties shall notify the Court on or before March 31, 2025 whether
12 deposition testimony will be used at trial. The Court will then schedule a hearing
13 to review all designated testimony and objections so that a final edited version of
14 the deposition testimony can be prepared for trial.
15         16.   Pretrial Order.
16         A. Deadline: A joint Pretrial Order, prepared in accordance with the format
17 provided in Local Rule 16.1(e), shall be filed on or before April 21, 2025 and a
18 copy e-mailed in Word format to the Court: BastianOrders@waed.uscourts.gov
19         B. Consistency: The list of exhibits contained in the joint Pretrial Order
20 shall reflect the exhibit marking scheme described above in paragraph 13(C).
21         C. Duplicative Exhibits: In preparing the joint Pretrial Order, the parties
22 shall confer regarding duplicate exhibits and determine which party will submit
23 such exhibits for trial.
24         17.   Trial Briefs and Proposed Voir Dire. Trial briefs and voir dire
25 shall be filed by April 17, 2025.
26         18.   Jury Instructions. No later than April 17, 2025, the parties shall file
27 jointly proposed jury instructions.
28         A. Confer. The parties shall confer regarding jury instructions and file

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 1 jointly proposed jury instructions and a table of proposed Jury Instructions. The
 2 jointly proposed Jury Instructions should address only issues that are unique to
 3 this case and shall include instructions regarding the elements of each claim, any
 4 necessary definitions, and a proposed verdict form.
 5        B. Modifications. If any proposed instruction is a modified version of model
 6 instructions or deviate from model instructions, the parties shall identify the
 7 modification and cite legal authority for the modification.
 8        19.    Submissions on the First Day of Trial. The Court requires that the
 9 following be submitted to the courtroom deputy clerk on the first day of trial:
10        A. Exhibits. Exhibits for presentation at the trial in tabbed binders indexed
11 by exhibit number with exhibit tags placed consistently on the bottom right corner
12 of each exhibit. Counsel shall submit to the Court an original binder and two
13 copied binders of their exhibits together with three discs or flash drives containing
14 the same.
15        B. Exhibit List. One copy of a final joint exhibit list.
16        C. Witness List. One copy of witness lists in the order in which the
17 witnesses are expected to be called to testify.
18                                  MODIFICATIONS
19        20.    Good Cause. Pursuant to Rule 16 of the Federal Rules of Civil
20 Procedure, this schedule shall not be modified unless the Court finds good cause
21 to grant leave for modifications.
22        21.    Motions to Continue Trial. The trial date set forth in this Order is
23 firm, and all parties and their counsel must regard the date set for trial as certain.
24 The Court may grant a continuance only on a showing of good cause requiring the
25 continuance, and the Court does not guarantee its availability on any new date
26 requested by counsel.
27        22.    Length of Memoranda. The parties shall follow the page limit
28 requirements of Local Rule 7(f) for all motions and pleadings. Motions for leave

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 1 to exceed page limits are strongly disfavored and will be granted only in
 2 extraordinary circumstances.
 3       IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 4 this Order and to provide copies to counsel.
 5       DATED this 15th day of April 2024.
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13                                           Stanley A. Bastian
                                    Chief United States District Judge
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     JURY TRIAL SCHEDULING ORDER - 7
